       Case 2:12-cv-01924-SM-DPC Document 615 Filed 04/30/21 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

    UNITED STATES OF AMERICA,                                        CIVIL ACTION
        Plaintiff

    VERSUS                                                           NO. 12-1924

    CITY OF NEW ORLEANS,                                             SECTION: “E” (2)
         Defendant


                                          ORDER

        On August 9, 2013 the Court entered an Order with respect to the relationship

among the United States of America (“United States”), the City of New Orleans (“City”),

and the Monitoring Team.1 The Court attached the terms governing the relationship to

the Order as Exhibit A (the “Monitoring Agreement”).2 The Monitoring Team consented

to be bound by the terms of the Court’s Order, and the provisions found in the Monitoring

Agreement.3

        On August 4, 2017, the Court entered an Order modifying the August 9, 2013 Order

to extend the services of the Monitoring Team for an additional three years, from August

2017 through August 9, 2020.4 The Court’s August 4, 2017 Order (a) extended the term

of the initial order, (b) set forth updated hourly rates, and (c) set forth a new fee cap (not

including technical assistance).

        This Order extends the term set forth in Section VI.A. of the Monitoring Agreement

to May 31, 2021. The Monitoring Team’s rates set forth in the August 4, 2017 Order shall

remain the same through May 31, 2021.



1 R. Doc. 294.
2 R. Doc. 294-1.
3 R. Doc. 295.
4 R. Doc. 529.




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      Case 2:12-cv-01924-SM-DPC Document 615 Filed 04/30/21 Page 2 of 2




       The City shall pay all outstanding invoices of the Monitoring Team within 30 days

of this Order.

       The Court will issue a separate order covering the remainder of 2021 and the two

year sustainment period, which order will set forth new rates and a new fee cap, if

appropriate.

       New Orleans, Louisiana, this 30th day of April, 2021.



                                         ________________________________
                                                  SUSIE MORGAN
                                           UNITED STATES DISTRICT JUDGE




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